                        Case 1:22-cr-00097-JAW Document 57 Filed 03/13/24 Page 1 of 1   PageID #: 237

                                             UNITED STATES DISTRICT COURT
                                                   DISTRICT OF MAINE
      CASE NAME: USA v. Jessica Turcotte

      DOCKET NO: 1:22-cr-00097-JAW

      PROCEEDING TYPE: Sentencing

                                                        Exhibit List
Gvt    Dft    Court
                                                                                            Date         Date            Date
Exh    Exh     Exh                                Description                                                     Obj
                                                                                          Mentioned     Offered         Admitted
No.    No.     No.
      1-13            Letters of Support                                                   3/13/24      3/13/24         3/13/24
      14-16           Photographs                                                          3/13//24     3/13/24         3/13/24
       17             ACT Certificate                                                      3/13/24      3/13/24         3/13/24

       18             Sealed Document                                                      3/13/24      3/13/24         3/13/24
       19             Sealed Document                                                      3/13/24      3/13/24         3/13/24
